Case 5:15-cv-10261-JCO-MKM ECF No. 1, PagelD.1 Filed 01/22/15

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

Plaintiff, Civil Action No.:
Hon:

VS.
MELISSA LEBOWITZ,

Defendant.

 

GOODMAN FROST, PLLC
Robert J. Goodman (P55670)
Attorneys for the United States of America
20300 West 12 Mile Road, Suite 201
Southfield, MI 48076
248/750-0500
/

 

COMPLAINT
The United States of America, Plaintiff, alleges that:

Jurisdiction

Page 1 of 6

1, This Court has jurisdiction over the subject matter of this action pursuant to Article HI,

Section 2, U.S. Constitution, 28 U.S.C. § 1345.

Venue

2. The defendant is a resident of Oakland County, Michigan within the jurisdiction of

this Court and may be served with service of process at 36421 Quakertown Lane, Farmington,

MI, 48331-3885.
The Debt

3. The debt owed to the United States of America is as follows:

 

 

 

 

 
Case 5:15-cv-10261-JCO-MKM ECF No. 1, PagelD.2 Filed 01/22/15 Page 2 of 6

 

 

A. Current principal balance: $2,674.90
B. Current capitalized interest balance and accrued interest: $352.46
C. Administrative Fee, Costs, Penalties: $0.00
D. Credits previously applied

(Debtor payments, credits and offsets, Exhibit B): $
Total Owed $3,027.36

The Certificate of Indebtedness, attached as Exhibit B, shows the total owed excluding
attorney's fees and Court costs and related charges. The principal balance and the interest

balance shown on the Certificate of Indebtedness is correct as of the date of the Certificate of

 

Indebtedness after application of all prior payments, credits, and offsets. Prejudgment interest

 

accrues at the rate of 3.13% per annum from the date stated in Exhibit B. The promissory notes

which are at issue are attached as Exhibit A, hereto.

Failure to Pay

4, Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, the United States of America prays for judgment:

A. For the sums set forth in Paragraph 3 above, plus prejudgment interest through the

date of judgment, all administrative costs, and service of process costs allowed by law, and

 

post-judgment interest at the legal rate, pursuant to 28 U.S.C. § 1961.
B. For attorneys' fees and costs allowed by law or contract; and

C. For such other relief which the Court deems proper.
 

Case 5:15-cv-10261-JCO-MKM ECF No. 1, PagelD.3 Filed 01/22/15 Page 3 of 6

Respectfully submitted,

GOODMAN FROST, PLLC

 

By: /s/ Robert J, Goodman
Robert J. Goodman Bar No. (P55670)
20300 W 12 Mile Road, Suite 201

Southfield, MI 48076

Telephone No. 248-750-0500

Fax No. 248/750-0508

rgoodman@goodmantrost.com
January 22, 2015

 

CDCS #: 2015A12507

 

 
         

Case 5:15-cv-10261-JCO-MKM ECF No. 1, PagelD.4 Filed 01/22/15 Page 4 of 6

   

U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS # 1 OF 1

MELISSA LEBOWITZ

36421 QUAKERTOWN LANE
FARMINGTON HILLS, MI 48331-3885
Account No, KXX-XK-4355

I certify that U.S.Department of Education records show that the borrower narned above is mdebted to the
United States in the amount stated below plus additional interest from 11/13/14.

Gn or about 11/18/96 & 01/07/98 the borrower executed promissory note(s)} ta secure loan(s) of $5,515.00 &
$3,500.00 from the U.S Department of Education. This loan was disbursed for $2,130.00 on 11/27/86 through
03/08/97 & $3,509.00 on 01/09/98 at a variable rate of interest to be established annually. The loan was made
by the Department under the William D. Ford Federal Direct Loan Program under Title IV, Part D of the
Higher Education Act of 1965, as amended, 20 U.S.C. 10872 et seq. (34 C.F.R. Part 685). The Department
demanded payment according to the terms of the note, and the borrower defaulted on the obligation on
06/04/05. Pursuant to 34 C.F.R. 685.202(b), a total of $501.57 im unpaid interest was capitalized and added to
the principal balance.

 

 

The Department has credited a total of $4,976.00 from all sources, including Treasury Department offsets, if
any, to the balance. After the application of these payments, the borrower now owes the United States the

 

following:

Principal: $2,674.90
Interest: $352.46
Total debt as of 11/13/14: $3,027.36

Interest accrues on the principal shown here at the current rate of 3.13% and a daily rate of $0.23 through
June 30, 2015, and thereafter at such rate as the Department establishes pursuant to Section 455(b) of the
Higher Education Act of 1965, as amended, 20 U.S.C. 1087e,

Pursuant to 28 US.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

 

Executed on: \\ / Lifté

 

Litigation Support Unit

 

 
   

Case 5:15-cv-10261-JCO-MKM ECF No. 1, PagelD.5 Filed 01/22/15 Page 5 of 6

 

   
 
      
 
 
    

U.S, Department of Education. pen oRDS

Co Te  campaasieh wostall caeatoncad vain
SERVICER'S COPY

 
    

 

‘aba et Pastel Bia Ean Prog

 

me EBOWIT. Gee cyst.

7533 DANBURY DR

   

 

 

WEST BLOORF ELD gd i4 wel ek;

 

 

6. References: You (ust lel wo persone ah Giferedt US. addressee who have known you for al leas treo years” Tihs fet reference stewie oe p—.. éfitdan. .
Name * Linde, Lélonuart2. 2 foe CHE man | :
Peneanant Addrass ses Cahier eck. :

__ City, State, Zip Code
Are Code ephre Nurbe Bi0) 939-5290 Sia vA [>B8

 

 

 

      
 

<4 ; :
3. School Across (atroul, ly, stat By cha) © TATE UNTVERSTTY 08727758 “057/08 %itcatcmoe | A

)
OSFA-HN 3 “WEST —§__BEFRG+-}—_ 4} —_-4 8 - GO
Tho chart baiow shows snticlpated dleburoement amounts and dies. Actual amounts and dates mey very.

 

 

 

 

 

Anticipated Loan Amount Lom Fee Loan Fes Net Dizkureement interest Rete

Subsidized IST 09/01/96] $2,758.00 400 $110.00 $2,648.00 | -vaR,——~
Lean 2ND 01/01/97} $2,757.00 4.00 $110.06 $2,647.00
3RD $0.00 4.06 | $0.00 $0.00
4TH Tesi 4, $0.00

       
     

$0.00

    
 
   
 
 
 
 

 

   

 

 

 

 

 

 

 

 

tuewterstand that thie ie a Protiaaiy Res. 1 aa
ioenaddond nt ts read tie Fi arte

 

 

 

1". Tan Wdonicaton Reeve * = ” mo .
; ) {UNDERSTAND THAT THIS 8 AFEDERAL LOAN THAT | ZUST REPAY.

   
 

 

 

 

 

 

355-S-97-G02329-7-01 Of sfele Rt roche

 

EXHIBIT A
  

 

 

 
  

irect William D. Ford Fedemhiirephtoan feagram <a

U.S. Department of Education , Exp. Data 12134199

Loans JAN 0 7, 1998

FRc Pend Resid Biot Lads geet WARNING: Any pacon whe nosing mated a tabs sishament or macagrenmetetiant or thls locas.

 

 

 

 

be puiect Federal Direct Stafford/Ford Loan

to penaltios which may include Gres, imortsonmant or both, onder tha U.5, Carina) Code and 20 U5.0. 4997.

3 Se. 097. . Ls
SERVICER'S’ COPY SCHOLARSHIPS & FINANCIRES 3 Direct Unsubsidized Statford/Ford Loan
Promissory Note and Disclosure

          

 

 

 

 

 

 

 

 

1. Name (last, first, eniefdla initial) and Address (sireel, city, stafa, zip code} 2 Social Security Numbar
LEBOWITZ, MELISSA “4355
7533 DANBURY DR 3. Date of Birth
WEST BLOOMFIELD, MI 483220000 _ 472
4. Area Code/Tal ~
a oe Troe EB 932-5250
5, Driver's License Nur* > "" > 7 re iy) 5
6, Relerences: You must fist two persons with different 11.5. addresses whe have known you for at least tiiree years. The lirsi reference should be a pargnt or legal guardian.
Name t Linden Leloguit z 2 Terri Sitarn
Permanent Address M33 Pano Oe. Hod Kiwkshuwe

 

 

Cily, State, Zip Cade (west Bivorrhe ls, My 43333 “Pyne Ma PAS Mi
Area Code/Tetephone Number US} A BAR SHZAUC tS) G47 - AGS

ee

  

 

7. School Name 8. Loan Period From: MMUDIWY b
WAYNE STATE UNIVERSITY Approved 08/24/97 06/05/95
9. School Address (street, city, state, 2ip code) 10, School Code/Branch
‘OSFA HNJ 3-WEST DETROIT Mi 48202 Go?3239.

 

 

The chart below shows anticipated disbursement amounts and dates. Acfual amounts and dates may wary. The interest rate for this note is variable.

 

 

 

 

 

Anticipated Loan Amount Loan Fee Loan Fee Net Disbursement |
Disbursement Dates Approved Rate Amount Amount
IST O9/01/97 ($1,750.00 4,00 70.00 $1,680.00 VAR.
Direct 2ND0 01/01/98 = 1, 750.00 4.00 70.00 $1,680.00
Subsidized 3RD $0.00 4.00 0.00 $0.00
4TH $0.00 4.00 a.00 $0.00
$3,500.00 146.00 $3,360.00
Total
Direct
Unsubsidized
Loan
Tots! |

 

 

 

 

 

 

| promise fo pay the U.S. Cepartment of Education all sums (hareaffer oan oy "Ioans") disbursed under and agree tothelenns and conalions of mis Promissory Nota, My signat this Prov

this Proiisgoty Note plus infofestand other fees which ray boar due, as previdedin this Promissory seve as my authorization for ay Ioan proceeds ‘a'be credit: ‘0 my student seecunt by he

Note, Hilfal {omake payrants onthis Promissory Note when due, | willalso pay collection costs Inclading — schoal identifiad in Seclion B.

attomey's ees and cout eae M may cared of reduce Ihe size of my foan by retusing nd ity

any disbursement thal is issued te me. E certify that the total amount of pan Gat | receive ander this ef ponalty of perjury, | cartify that the information contained inth it i

Promissory Note wil notexcead the allowable annual maximum cr cumulativermaximum underthe Higher = Nota ie ord meu, The proceeds of this loan will be Used ft authoaed sdveetor owpenses, at

Education Act of 1965, 2s amended, thecertityingschoal forthe specified ban period. | certitythat [ do notowe a refurdona Federal Pell Grant,
; . ; ., _ Basie Educational Opportunity Grant, Supplemental Educational Opportunity Grant or a State Student

ft understand that this ea Promissory Nete, | wil nat sig. this Promissory Note before reading if sven# = incentive Grant and that |.am not now in default on any oan received under the Fecaral Perkins Loan

tam advised not to read this Promissory Note. fam loan exact copy of this Promissory Note and == Program {indluding Naliona! Delerse Studant Loans} orthe Federat Family Education Loan Program, oF

 

aStiementolthe Borrowers Fights ang Responsitiifes. Mysignalurecerities thalihaverend,undersiand = Direct Loan Program, orif lamin Gefaut, thave mada repayment arrangements hatare-salistactory fo tha
——— Secretary
11. hientification Number(s}

of ihe Departmant of Education,
DLSG 11/19/97 7! | (UNDERSTAND THATTHIS IS A FEDERAL LOAN THAT! MUST REPAY.

5355 § 98 602329 801-{]1 WY ba Dourth, \- J-G¥

12. Signatup of Borrower

 

 

 

   
 

 

 

 

   

2 Tee } itty

 

    

 

 

 

 

 

 
